                 Case 19-11938-LSS             Doc 413        Filed 05/27/21        Page 1 of 2




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                    :     Chapter 7
                                                          :
    UBIOME, Inc.1                                         :     Case No. 19-11938 (LSS)
                                                          :
                             Debtor.                      :
                                                          :
                                                          :     Re: Docket No. 402


   ORDER APPROVING AND ALLOWING FIRST INTERIM APPLICATION OF
GIULIANO MILLER AND COMPANY, LLC AS ACCOUNTANTS TO THE CHAPTER
7 TRUSTEE FOR ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF
 EXPENSES FOR THE PERIOD OF OCTOBER 11, 2019 THROUGH APRIL 30, 2021


         Upon consideration of the First Interim Application for Allowance of Compensation and

Reimbursement of Expenses (the “Application”) of Giuliano Miller & Company, LLC

(“GMCO”), Accountants to Alfred T. Giuliano, Chapter 7 Trustee for the estate of UBiome, Inc.,

for the period October 11, 2019 through April 30, 2021 (the “Application”); and the Court

having thoroughly reviewed the Application; and the Court finding that: (a) the Court has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; (b) notice of the

Application, and any hearing on the Application, was adequate and proper under the

circumstances; and (c) all persons with standing have been afforded the opportunity to be heard

on the Application:

         IT IS HEREBY ORDERED THAT:

         1.      The Application is GRANTED.




1
 The Debtor and the last four digits of its taxpayer identification number is: uBiome, Inc. (0019). The headquarters
for the above-captioned Debtor was located at 360 Langton Street, Suite 301, San Francisco, CA 94103


DOCS_DE:234178.1 31271/001
                 Case 19-11938-LSS      Doc 413     Filed 05/27/21    Page 2 of 2




         2.        GMCO is allowed and shall be paid forthwith compensation in the amount of

$365,958.00 for services rendered, and $1,134.73 for costs and expenses incurred for the interim

period October 11, 2019 through April 30, 2021.

         3.      The amount awarded shall be paid forthwith by the Trustee.




       Dated: May 27th, 2021                        LAURIE SELBER SILVERSTEIN
       Wilmington, Delaware                         UNITED STATES BANKRUPTCY JUDGE

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